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                    UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


  JAMES BUECHLER and JESSE
  MARTINEZ, on behalf of themselves            Case No. 8:22-cv-02237-SDM-AAS
  and all others similarly situated,

                       Plaintiffs,

  v.

  RUMBLE INC.,

                       Defendant.


              DEFENDANT’S MOTION FOR SANCTIONS
          AGAINST PLAINTIFF JAMES BUECHLER, OR, IN THE
         ALTERNATIVE, TO COMPEL DOCUMENT PRODUCTION

       Plaintiff James Buechler has evidently doctored evidence, committed

 perjury, and spoliated evidence central to his claims in this case. In light of this

 gross abuse of the judicial process, Defendant Rumble Inc. (“Rumble”) hereby

 moves the Court to impose sanctions against Mr. Buechler pursuant to this

 Court’s inherent powers, Federal Rule of Civil Procedure 37, and any other

 applicable rules, statutes, or regulations.
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                                      BACKGROUND

        A.      Plaintiffs sue in the wrong forum.

        Plaintiffs filed this lawsuit on September 29, 2022,1 alleging that Mr.

 Buechler and his co-plaintiff used their smart phones and other devices to access

 video content on rumble.com. Compl. ¶¶ 12, 14. At all relevant times, however,

 rumble.com’s Terms and Conditions have contained a forum-selection clause

 mandating that any claims “arising out of or relating to” the Terms of Use or the

 use of “the Rumble Services” must be brought in Ontario, Canada. See ECF No.

 30 at 5. Accordingly, on November 23, 2022, Rumble moved to dismiss this case

 in favor of the courts of Ontario. See id.

        On March 13, 2023, the Court observed that “the argument for exclusive

 venue in Canada is formidable” but declined to dismiss on the basis that “certain

 facts are insufficiently distinct.” ECF No. 54 at 1. Because the Court suggested

 that Rumble could move again on the forum issue “after discovery directed to the

 pertinent issue,” Rumble sought and obtained an order limiting discovery to

 forum-related issues for a period of 90 days. ECF No. 65.

        B.      Mr. Buechler produces an altered document.

        As part of the forum-related discovery the Court ordered, Plaintiffs’

 counsel produced two emails from Mr. Buechler’s files. One of the emails




 1 The lawyers who filed this case appear to have brought other VPPA suits as part of the wave of

 such suits being brought across the country. See ECF No. 67 (Apr. 19, 2023 Tr.) at 25:22 –26:2
 (THE COURT: “Is your firm representing plaintiffs in the other [VPPA] cases? MS. CROWE:
 Yes, Your Honor, we are.”).
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 Plaintiffs’ counsel produced presents as an email from rumble.com to Mr.

 Buechler, bearing the date of January 21, 2022; the email provides a link for Mr.

 Buechler to activate his rumble.com account (the “Altered Email”) (attached as

 Exhibit 1 to the declaration of Gregory Dubinsky (“Dubinsky Decl.”), submitted

 herewith).

       The Altered Email is all but certainly doctored to reflect the January 21,

 2022 date. Internal company files reveal that Mr. Buechler actually signed up for

 his rumble.com account on September 23, 2022—a mere six days before he

 commenced this litigation—but Mr. Buechler did not produce any activation

 email from September 2022. See Dubinsky Decl., Ex. 2 (Buechler user file

 document). And, critically, as Rumble’s Chief Technology Officer, Wojciech

 Hlibowicki explains in an accompanying declaration, (“Hlibowicki Decl.”) at ¶¶ 4-

 5, the Altered Email could not have been sent in January 2022, because the

 activation email format reflected in the Altered Email was not implemented by

 rumble.com until April 2022. Id., ¶ 6 (“[T]he form of the link in [the Altered

 Email] indicates that the email was sent, if it was sent, after April 5, 2022.”).

       Consistent with its records, Rumble indicated in its Answer, filed in March

 2023, that “Plaintiff James Buechler has had an account on rumble.com since

 September 23, 2022,” Answer, ECF No. 56, ¶ 84, and Rumble produced to

 Plaintiffs during discovery an internal record in advance of Mr. Buechler’s

 deposition showing that Mr. Buechler created his rumble.com account on

 September 23, 2022. Dubinsky Decl., Ex. 2.

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        C.      Buechler falsely testifies that he received the Altered Email
                and created his rumble.com account in January 2022.

        Rumble deposed Mr. Buechler on July 11, 2023. During that deposition,

 Mr. Buechler swore under oath several times that he received an activation email

 and signed up for rumble.com in January 2022—the date reflected on the Altered

 Email.2 See Dubinsky Decl., Ex. 3 (Buechler Trans.) at 21:4–9, 38:19–22,

 146:25–147:2. When confronted with rumble.com internal records showing Mr.

 Buechler registered for his account on September 23, 2022—and the software

 code change showing that the Altered Email could not have been sent before

 April 2022—Mr. Buechler could not explain the discrepancy. Id. at 143.

        At his deposition, Mr. Buechler swore that he had not doctored the Altered

 Email, that the Altered Email was still in his inbox, that he “did not delete

 anything” in terms of email, and that he would commit to producing a native

 version of the Altered Email.3 Id. at 157:8–14, 44:17–24, 157:15–18. He also

 testified that the Altered Email, if retrieved from his email inbox, would contain

 the January 21, 2022 date. Id. at 157:8–14. To the extent there could be any


 2 It is unknown at this time why Mr. Buechler apparently chose to backdate the Altered Email

 and to dissemble about it. However, he testified at deposition that he decided to sue Rumble
 after seeing an online survey from Plaintiffs’ counsel on social media. Dubinsky Decl., Ex. 3 at
 18:24-19:6. Given that internal records show that Mr. Buechler created his account a mere six
 days before the Complaint was filed, one plausible explanation is that he created his
 rumble.com account solely for the purpose of suing Rumble and only after he saw the survey—
 and sought to create the impression that he had actually been a rumble.com user for months
 before Plaintiffs’ counsel began soliciting clients to sue Rumble. This would be in line with Mr.
 Buechler’s history as a serial plaintiff and past claims that he doctored evidence. See infra at 5,
 8.

 3 As the Court knows, a “native” email means the original email as it exists on Mr. Buechler’s

 device; as produced, the Altered Email was simply an image file that apparently was created
 from a PDF.
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 innocent explanation for the discrepancy in registration dates, that native email

 would likely shed light on the issue.

       Further, and notably, Mr. Buechler denied under oath in his deposition

 that he had ever been previously accused of fraudulent conduct in litigation. Id.

 at 147:10–12. Only after counsel for Rumble confronted Mr. Buechler with an

 opinion by a federal court (a case in which he was a plaintiff) recounting that Mr.

 Buechler had indeed been accused of doctoring evidence in that case, see

 Buechler v. Best Gaming, Inc., 2013 WL 1830079, at *1 (D. Md. Apr. 30, 2013),

 Mr. Buechler was forced to concede that he had, in fact, been “accused of altering

 documents in the past.” Dubinsky Decl., Ex. 3 at 153:14-21. And Mr. Buechler

 indicated that “it wouldn’t surprise me if somebody else” were to accuse him of

 “doctoring evidence in other cases.” Id. at 156:4-18.

       D.     Following the deposition, Plaintiffs’ counsel informs
              Rumble that Mr. Buechler will not provide the native
              version of the Altered Email and that Mr. Buechler
              suddenly wishes to dismiss his lawsuit.

       Following Mr. Buechler’s deposition, counsel for Rumble promptly raised

 with Mr. Buechler’s counsel the grave concerns arising from Mr. Buechler’s

 testimony and the date of the Altered Email. Rumble asked Plaintiffs’ counsel to

 produce a native version of the Altered Email by July 17, 2023. Six days after the

 deposition, on July 17, Plaintiffs’ counsel stated that they were “in the process of

 investigating,” but they failed to explain why it required a week (or longer) to

 obtain and produce a single e-mail that their client claimed (under oath) existed

 on his phone and that he committed to produce. Dubinsky Decl., Ex. 4. Nor did
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 they explain why they did not previously investigate the discrepancy between

 (i) the date of Mr. Buechler’s activation email and (ii) the date Rumble’s Answer

 gave for Mr. Buechler’s account creation as well as (iii) the user data Rumble

 produced bearing the same September 2022 date.

       Two days later, on July 19, Plaintiffs’ counsel stated that they had

 “endeavored over the past week to collect the native version of that email to

 produce to Rumble. Despite those efforts, Mr. Buechler has not provided the

 native version of the email, so we are unable to provide it to Rumble.” Dubinsky

 Decl., Ex. 5. Plaintiffs’ counsel also informed Rumble in the same message that

 “Mr. Buechler has asked . . . to have his claims against Rumble dismissed”; in that

 email, Plaintiffs’ counsel offered a stipulation only for dismissal without

 prejudice and, incredibly, on the condition that Mr. Buechler remain a member of

 the putative class. Id.

       Remarkably, during a recent meet-and-confer—well after these issues had

 surfaced, counsel for both parties exchanged correspondence, and Plaintiffs’

 counsel said they had “investigat[ed]”—Plaintiffs’ counsel informed counsel for

 Rumble that they take “no position” on whether Mr. Buechler doctored the email.

       E.     Buechler spoliated evidence.

       In addition to apparently producing an altered document and perjuring

 himself, Mr. Buechler admitted to destroying evidence. In the Complaint,

 Plaintiffs plead that Mr. Buechler “used a . . . smart phone to access streaming

 video content” on rumble.com. Compl. ¶ 12. Moreover, at his deposition, Mr.

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 Buechler testified that he had used the Rumble mobile application to access his

 rumble.com account. However, he subsequently testified that the rumble.com

 application (and presumably its data) no longer exists on the same phone he had

 installed it on. Dubinsky Decl., Ex. 3 at 55:3–6, 55:13–22 (“It is not on my

 phone.”).

       Mr. Buechler also stated that he never made his phone available for review

 by his lawyers and that his lawyers similarly did not obtain his phone from him.

 See Ex. 3 at 54:2–7 (“I haven’t downloaded my phone to them”). What is more,

 he understood that he did not need to preserve the data on his phone—i.e., the

 device he purportedly used to watch rumble.com videos. Id. at 59:19-21 (“When

 they told me to preserve documents, I assumed that would be e-mails,

 correspondence.”). Thus, Mr. Buechler’s explanation for why the Rumble

 application is no longer on his phone was: “If I wanted to get rid of it, I would

 have deleted it because I don’t think that would be a document or anything like

 that . . . .” Dubinsky Decl., Ex. 3 at 59:19–25 (emphasis added).

       As discussed infra, the failure to preserve data on Mr. Buechler’s phone is a

 breach of the parties’ Stipulation Regarding the Production of Electronically

 Stored Information and Hard Copy Documents (the “ESI Stipulation”), ECF No.

 53. In the ESI Stipulation, Mr. Buechler agreed through his counsel that “any

 device that Plaintiffs used to access Rumble or Facebook will be preserved.” ESI

 Stip. ¶ 5(f). Evidently, that did not happen.



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       F.      Buechler’s history as a serial litigant.

       Mr. Buechler is no stranger to the litigation process. Indeed, he appears to

 have been a plaintiff in some 40 other cases—despite falsely claiming at his

 deposition that he had been involved in only approximately 10 other cases. See

 Dubinsky Decl., Ex. 3 at 14:15–19. As noted, Mr. Buechler also falsely denied that

 he had ever been accused of fraudulent conduct in the past—until confronted

 with a federal court opinion stating as much. Id. at 147:10–12; see Best Gaming,

 Inc., 2013 WL 1830079, at *1 (reciting that Buechler was “accused of fraudulent

 conduct”—including “‘photo-shopp[ing]’” “pictures” he submitted in support of

 his claim).

                                     ARGUMENT

 I.    Mr. Buechler Should Be Sanctioned.

       It is well-established that federal courts have the “inherent authority to

 control the proceedings before them, which includes the authority to impose

 ‘reasonable and appropriate’ sanctions.” Martin v. Automobili Lamborghini

 Exclusive, Inc., 307 F.3d 1332, 1335 (11th Cir. 2002) (quoting Malautea v. Suzuki

 Motor Co., Ltd., 987 F.2d 1536, 1545 (11th Cir. 1993)); see Chambers v. NASCO,

 Inc., 501 U.S. 32, 42 (1991). This Court’s inherent power to sanction is “broader”

 than other sanctions regimes, in the sense that, “[w]hile the other sanction

 mechanisms only reach certain individuals or conduct, ‘the inherent power

 extends to a full range of litigation abuses’ and ‘must continue to exist to fill in

 the interstices.’” Peer v. Lewis, 606 F.3d 1306, 1314 (11th Cir. 2010) (quoting

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 Chambers, 501 U.S. at 46). Accordingly, sanctions against Mr. Buechler for his

 misconduct can and should be imposed under the Court’s inherent authority.

       A.     Sanctions Are Plainly Warranted for Mr. Buechler’s
              Apparent Doctoring of Evidence and Perjury.

       “The key to unlocking a court’s inherent power is a finding of bad faith.”

 Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998) (citation omitted). “Bad

 faith”—including subjective bad faith—“exists when the court finds that a fraud

 has been practiced upon it, or ‘that the very temple of justice has been defiled,’ or

 where a party or attorney knowingly or recklessly raises a frivolous argument,

 delays or disrupts the litigation, or hampers the enforcement of a court order.”

 Allapattah Servs., Inc. v. Exxon Corp., 372 F. Supp. 2d 1344, 1373 (S.D. Fla.

 2005) (citing Chambers, 501 U.S. at 46); see Malautea v. Suzuki Motor Co. Ltd.,

 987 F.2d 1536, 1545–46 (11th Cir. 1993) (affirming district court’s ability to

 sanction under its inherent powers). Here, clear-and-convincing evidence of Mr.

 Buechler’s bad faith exists in spades.

       First, all available evidence points to the undeniable conclusion that Mr.

 Buechler doctored the Altered Email—one of just two documents his counsel

 produced from his files. As noted above, the Altered Email purports to show that

 Mr. Buechler sought to activate a rumble.com account on January 21, 2022.

 Dubinsky Decl., Ex. 3 at 42:18-24. And Mr. Buechler testified he received the

 Altered Email on January 21, 2022 and created his account contemporaneously.

 Id. at 38:17–39:10. But internal company files in Rumble’s possession show that

 Mr. Buechler activated his rumble.com account on September 23, 2023—just six
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 days before this litigation was filed. See Dubinsky Decl., Ex. 2. Notably, Mr.

 Buechler did not produce any rumble.com activation email sent in September

 2022.

         What is more, and critically, the conclusion that Mr. Buechler backdated

 the Altered Email is further compelled by the fact that the Altered Email could

 not have been sent before April 5, 2022. As Rumble’s CTO has explained,

 Rumble implemented a change in the format of activation emails in April 2022,

 and the Altered Email contains the format that came into existence only after

 April 2022. Hlibowicki Decl., ¶¶ 3-6. Mr. Buechler has offered no explanation

 that could account for why the Altered Email bears a post-April format but a

 January date, and we are unable to conjure any plausible explanation aside from

 Mr. Buechler’s alteration of the document.

         Second, when given the opportunity to address these issues, Mr. Buechler

 doubled down on his deception by apparently perjuring himself during his

 deposition. Mr. Buechler swore under oath, multiple times, that he received the

 Altered Email in January 2022. See Dubinsky Decl., Ex. 3 at 21:4–9, 38:19–22,

 146:25–147:2. He continued to insist that that he received the Altered Email in

 January 2022 even when confronted with the internal records and code change

 showing that the Altered Email could not have been sent before April 2022. Id. at

 143:3-21; Dubinsky Decl., Ex. 6; Hlibowicki Decl. at ¶¶ 3-5. As noted, he offered

 no explanation for any of the discrepancies between the Altered Email and the



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 evidence showing that the Altered Email could not have been sent in January

 2022 and that he created his rumble.com account in September 2022.

       Further, Mr. Buechler testified that he was still in possession of the original

 Altered Email in his inbox—which he swore would contain the January 21, 2022

 date—and also committed that he would produce the Altered Email in its native

 format to Rumble’s counsel. Id. at 157:8–14, 44:17–24, 157:15–18. However, Mr.

 Buechler refused to follow through with that promise. His counsel later reported

 to Rumble that they apparently “endeavored . . . to collect the native version of

 that email to produce to Rumble,” and that “[d]espite those efforts, Mr. Buechler

 has not provided the native version of the email, so we are unable to provide it to

 Rumble.” Dubinsky Decl., Ex. 5. The only plausible conclusion is that the

 Altered Email is either destroyed or, if accessed in its native format, would not

 bear the January 2022 date as it was produced to Rumble.

       Critically, if there had been some innocent explanation for all of this, the

 native file could well reveal it, and in that scenario this motion would not have

 been necessary. But it bears emphasizing that Mr. Buechler has (1) refused to

 produce the native version of the Altered Email; (2) refused to offer any

 explanation for the discrepancies between his testimony, the Altered Email’s

 date, and Rumble’s internal records reflecting the September 2022 account

 creation date; and (3) absent any explanation, asked to withdraw his claims

 against Rumble and exit the case.



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       Taken together, the circumstances permit only one plausible inference:

 Mr. Buechler changed the date on the Altered Email to suggest that he signed up

 for rumble.com in January 2022—seemingly to conceal the fact that he actually

 signed up for rumble.com on September 23, 2022, i.e., six days before filing suit.

 That in turn indicates that Mr. Buechler almost certainly signed up for

 rumble.com only to sue Rumble and may well not have even viewed any videos

 on rumble.com. And the still-further inescapable conclusion is that if a native

 version of the Altered Email does exist, it would bear a different date than the

 version Mr. Buechler produced through his counsel. That is no doubt why Mr.

 Buechler abruptly sought to withdraw from this action after his deception was

 revealed—and why his counsel seeks to cease representing him.

       Mr. Buechler’s misdeeds amount to a textbook case of sanctionable

 conduct. See Qantum Communs. Corp. v. Star Broad., Inc., 473 F. Supp. 2d

 1249, 1269 (S.D. Fla. 2007) (“the inherent powers doctrine is most often invoked

 where a party commits perjury or destroys or doctors evidence”). In nearly

 identical circumstances, courts in this Circuit and others have not hesitated to

 impose sanctions under their inherent power. See, e.g., Roche Diagnostics Corp.

 v. Priority Healthcare Corp., 2020 WL 2308319, at *4, *9 (N.D. Ala. May 8,

 2020) (imposing sanctions based on defendants’ bad faith in “doctoring . . .

 evidence and committing perjury,” finding that this kind of “attempt to conceal or

 misrepresent the truth” . . . ‘emasculate[s] the court’s ability to ascertain the truth

 [and] necessarily strikes at the very foundations of the adversary system and the

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 judicial process’”) (quoting In re Sealed Case, 754 F.2d 395, 401 (D.C. Cir. 1985));

 Cableview Commc’ns of Jacksonville, Inc. v. Time Warner Cable Se., LLC, 2016

 WL 128561, at *13 (M.D. Fla. Jan. 12, 2016) (noting that “the imposition of the

 attorney’s fees and costs incurred” as a result of filing “demonstrably false”

 affidavit “would be a[n] . . . appropriate sanction”).

        B.     Sanctions Are Also Warranted for Spoliation of Evidence.

        Mr. Buechler’s sworn testimony also detailed spoliation of evidence in a

 blatant violation of the parties’ filed stipulation. In the ESI Stipulation, Mr.

 Buechler and his counsel agreed that “any device that Plaintiffs used to access

 Rumble or Facebook will be preserved.” ESI Stip. ¶ 5(f).

        This is no foot fault. In fact, information from Mr. Buechler’s electronic

 devices is obviously relevant: The Complaint pled that he “used a . . . smart

 phone to access streaming video content” on rumble.com—but Mr. Buechler’s

 Rumble mobile application no longer exists to confirm that he ever viewed a

 video on Rumble before filing his Complaint. Compl. ¶ 12.4 At his deposition,

 Mr. Buechler testified that he had used the Rumble application on his phone. Yet

 he also stated, under oath, that the Rumble mobile application is not on that

 phone and that he would have deleted the mobile application if he wanted to. Ex.

 3 at 55:3–6, 55:13–22 (“It is not on my phone.”); id. at 59:19–25 (“If I wanted to

 get rid of it, I would have deleted it because I don’t think that would be a


 4 Viewing a video is a prerequisite to bringing a VPAA claim; “the VPPA requires identifying the

 viewers and their video choices.” Perry v. Cable News Network, Inc., 2016 WL 4373708, at *4
 (N.D. Ga. Apr. 20, 2016) (quotation marks omitted).
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 document or anything like that . . . .”). This apparent deletion of electronic data

 plainly violates the ESI Stipulation.

        Rule 37(e) provides for sanctions in the event of spoliation such as this.

 Scrap King LLC v. Stericycle, Inc., 2022 WL 18495259, at *6 (M.D. Fla. Dec. 20,

 2022). Under Rule 37(e), the Court may impose sanctions if it finds a party acted

 with the “intent to deprive” the opposing party of the ESI. Such “intent to

 deprive” is shown here by Mr. Buechler’s refusal to comply with the parties’ ESI

 stipulation regarding preservation of documents. See Fed. R. Civ. P. 37,

 committee note to 2006 amendment (“Among the factors that bear on a party’s

 good faith . . . are the steps the party took to comply with a . . . party agreement

 requiring preservation of specific electronically stored information[.]”).

        The other Rule 37(e) factors are also met. First, Rule 37(e) requires that

 there was a duty to preserve ESI at the time it was spoliated. That is easily

 satisfied. Mr. Buechler made a rumble.com account six days before he filed this

 very litigation and a mere three days (at most) before he contacted his current

 attorneys of record,5 so any mobile application that he downloaded was well

 within the period of pending or foreseeable litigation. See, e.g., Doe v. Willis,

 2023 WL 2918507, at *7 (M.D. Fla. Apr. 12, 2023) (finding plaintiff was obligated

 to preserve iPhone “and the ESI it contained” at least one month before


 5 Mr. Buechler further testified that he emailed with his attorneys in “June, July, or August” of

 2022. Dubinsky Decl., Ex. 3 at 207:2-19. However, the privilege log Plaintiffs provided lists no
 such emails. Dubinsky Decl., Ex. 8 at 4. Defendant asked counsel for Plaintiffs to explain this
 discrepancy and address other concerns; Plaintiffs’ sole response was that they were under “no
 obligation to respond” and refused to explain. Dubinsky Decl., Ex. 9.
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 commencing litigation, when she hired her attorney). Second, the ESI at issue

 here was lost or destroyed. This element is readily met by Mr. Buechler’s own

 sworn statements that he did, at one time, have the rumble.com mobile

 application on his phone and that it is no longer there. Dubinsky Decl., Ex. 3 at

 55:3–6, 55:13–22; see Doe, 2023 WL 2918507, at *7 (finding element met where

 “uncontested” that plaintiff discarded phone). Third, Mr. Buechler failed to take

 reasonable steps to preserve the ESI. Deleting documents constitutes a failure to

 take reasonable steps, particularly when a party—like Mr. Buechler—has

 “considerable experience in litigation” and should be familiar with document

 preservation obligations given his participation in more than 40 cases. Id. at *7.

 Finally, the ESI in its entirety cannot be retrieved from a different source.

       Accordingly, Mr. Buechler’s failure to abide by the parties’ ESI stipulation

 and the resulting spoilation of evidence warrant sanctions pursuant to Rule 37.

 Alternatively, it would be appropriate for the Court to impose sanctions for this

 discovery misconduct under the Court’s inherent powers. See, e.g., People for the

 Ethical Treatment of Animals, Inc. v. Dade City’s Wild Things, Inc., 2020 WL

 897988, at *2, *4, *13 (M.D. Fla. Feb. 25, 2020) (upholding R&R imposing

 sanctions under both Rule 37(b) and inherent powers, including costs, for

 modifying site in violation of court-ordered site inspection).

       C.     Requiring Mr. Buechler To Pay Half of Rumble’s Attorney
              Fees and Costs to Date Is The Appropriate Remedy.

       Mr. Buechler has moved to dismiss his claims in this case, but only after

 being caught altering evidence and falsely testifying about it. This has come after
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 nearly a year of Mr. Buechler aggressively pursuing his claims in this Court

 instead of in the agreed-upon forum in Canada. However, the misconduct

 described above suggests that Mr. Buechler’s claims are and have always been a

 sham—since he signed up for rumble.com six days before the suit was

 commenced and failed to preserve evidence from his phone, it is not clear that

 Mr. Buechler even viewed any videos on rumble.com before filing this VPPA case.

 It is simply a lawsuit for lawsuit’s sake.

       Thus, the appropriate amount in sanctions to levy here must account for

 both the costs inflicted upon Rumble and the amount needed to deter this type of

 misconduct by a serial class-action plaintiff. “Those who lie, evade and fail to tell

 the whole truth obviously enjoy an advantage over honest litigants. The

 victimized opponent winds up, as in this case, consuming substantial resources to

 respond to and ‘undo’ the victimizer’s lies and distortions.” Chemtall, Inc. v. Citi-

 Chem, Inc., 992 F. Supp. 1390, 1409–10 (S.D. Ga. 1998) (emphasis omitted). Mr.

 Buechler chose to sue Rumble. He chose to manipulate a document. He then

 chose to apparently lie about such manipulation under oath. And he chose to

 delete the Rumble app from his mobile phone. “[A] lesser sanction” than half of

 all of Rumble’s attorneys’ fees and costs to date “would not sufficiently punish

 and deter the abusive conduct.” Qantum Commc’ns., 473 F. Supp. 2d at 1269.

       Indeed, Mr. Buechler’s participation in this lawsuit has inflicted

 meaningful costs on Rumble. Rumble’s decisions to date with respect to motion

 practice, pleadings, and discovery have necessarily entailed a consideration of

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 Mr. Buechler. In order to file an adequate Answer, Rumble had to specifically

 address Mr. Buechler’s contentions, which required internal investigations.

 Rumble assessed what discovery requests as to Mr. Buechler it needed to

 propound. It responded to discovery requests mindful of Mr. Buechler’s suit. It

 reviewed documents for relevance to Mr. Buechler’s claims. It prepared for

 depositions to both test and defend against (in the case of Rumble’s 30(b)(6)

 deponent) those same claims. And in assessing the misconduct at issue,

 corresponding with opposing counsel, and in filing relevant papers, Rumble has

 expended costs well above and beyond what it would have incurred had Mr.

 Buechler complied with his obligations. Other cases with similar conduct have

 resulted in analogous monetary sanctions. See, e.g., Snider-Hancox, 2018 WL

 6448765, at *10 (S.D. Fla. Dec. 3, 2018), order clarified, 2018 WL 11349996 (S.D.

 Fla. Dec. 11, 2018) (awarding fees and costs incurred in motions to compel for

 continuance, for reconsideration, for trial preparation work, and for engagement

 of forensic expert); U.S. ex rel. Bibby v. Wells Fargo Home Mortg. Inc., 76 F.

 Supp. 3d 1399, 1414 (N.D. Ga. 2015) (imposing monetary sanction for bad faith

 conduct of violating court order); Kipperman v. Onex Corp., 260 F.R.D. 682, 700

 (N.D. Ga. 2009) (same, for e-discovery misconduct and misrepresentations to

 counsel and the court). In the alternative, at a bare minimum, Mr. Buechler

 should have to reimburse Rumble for half of its discovery-related costs and

 attorneys’ fees to date.



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       In fashioning the appropriate remedy, the Court should also consider the

 critical implications of Mr. Buechler’s apparent alteration of evidence and

 perjury. The doctored email was not inconsequential—the date that Mr. Buechler

 signed up for and watched videos on rumble.com are the core of his claim that

 Rumble violated his rights under the VPPA. “[S]everal federal courts have held

 that the need for sanctions is heightened when the misconduct relates to the

 pivotal or linchpin issue in the case.” People For The Ethical Treatment of

 Animals, 2020 WL 897988, at *5 (M.D. Fla. Feb. 25, 2020) (citing Qantum

 Commc’ns., 473 F. Supp. 2d at 1269).

       The Court should also consider Mr. Buechler’s history as a serial litigant

 and prior accusations of fraud raised against him in prior federal court cases. See

 O’Neal v. Allstate Indem. Ins. Co. Inc., 2021 WL 4852222, at *5 (11th Cir. Oct. 19,

 2021) (rejecting a plaintiff’s sanctions appeal, in part, because “the district court

 . . . conducted a comprehensive examination of Plaintiff’s litigation history, cited

 dozens of Plaintiff’s past cases, concluded that only two had merit, and provided

 examples of past cases where Plaintiff followed an abusive strategy”); see also

 Johnson v. 27th Ave. Caraf, Inc., 9 F.4th 1300, 1313-14 (11th Cir. 2021) (finding

 district court had “inherent power to investigate the scope and extent” of

 litigant’s misconduct that “threaten[ed] the integrity of the court”). Mr. Buechler

 has been a plaintiff in over 40 other cases. He has even been accused of fraud

 before in federal court. Supra at 5, 8. And his streak of litigation still continues;

 two days after his deposition at which he seemingly perjured himself, Mr.

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 Buechler brought yet another putative class action in federal court. See Buechler

 v. Adv. Med. Mgmt., LLC, No. 23-cv-1891 (D. Md. July 13, 2023). That followed

 yet another class-action suit, filed in the Southern District of Florida in late June

 2023. See Buechler v. Managed Care of North America, No. 23-cv-61182 (S.D.

 Fla. June 22, 2023).

                                    *      *      *

       Rumble does not file this motion, or seek these remedies, lightly. But the

 judicial process cannot be so lightly disregarded, or shown such little respect, as

 Mr. Buechler has displayed here. Rumble expended great time and costs in

 defending what it assumed to be Mr. Buechler’s good-faith claim for a violation of

 the VPPA. Allowing Mr. Buechler to walk away scot-free would be a disservice to

 the federal judicial system.

 II.   Alternatively, Should the Court Have Any Doubts About
       Whether Sanctions Are Warranted, Mr. Buechler Should Be
       Compelled To Produce the Native Version of the Email In
       Question.

       Under Federal Rule of Civil Procedure 37, a “court may compel a party

 to . . . produce documents” on a motion to compel discovery. Hicks v. Deepwater

 Glob. Distrib., Inc., 2018 WL 3427876, at *2 (M.D. Fla. July 16, 2018). The party

 resisting discovery “bears the burden of establishing lack of relevancy or undue

 burden in supplying the requested information. . . . [that party] must specifically

 demonstrate how the request is unreasonable or unduly burdensome.” Christie

 v. Scott, 2011 WL 13294586, at *3 (M.D. Fla. Aug. 18, 2011) (internal quotations


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 and citations omitted). To the extent this Court has any doubt as to whether

 sanctions are warranted or whether Mr. Buechler doctored the Altered Email—

 and Rumble believes there can be no doubt on this point, in light of his refusal to

 turn the native file over, and his sudden desire to drop from the case and move

 onto other lawsuits—the Court should compel Mr. Buechler to produce (through

 his counsel) the native file.

                                   CONCLUSION

       “[T]his wolf comes as a wolf.” Morrison v. Olson, 487 U.S. 654, 699 (1988)

 (Scalia, J., dissenting). The Court should sanction Mr. Buechler and order him to

 pay Rumble for half of its litigation costs and attorneys’ fees to date.

 Alternatively, or in addition, the Court should compel Mr. Buechler to produce a

 native copy of the Altered Email. The Court should also retain jurisdiction over

 Mr. Buechler, and that of his current counsel-of-record, to enforce any such

 further orders in respect of sanctions.




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 Dated: August 7, 2023
        New York, New York

 Respectfully submitted,

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                         RULE 3.01(g) CERTIFICATION

       Pursuant to Middle District of Florida Local Rule 3.01(g), the undersigned

 certifies that Defendant’s counsel has conferred with Plaintiffs’ counsel regarding

 the relief sought herein via email on August 3, 2023 and August 4, 2023.

 Plaintiffs’ counsel advised on August 4, 2023 that Plaintiff Martinez takes no

 position on this motion. As to Plaintiff Buechler, his counsel informed Defendant

 that “we are not in a position to provide a response regarding your referenced

 motion.”

 Dated: August 7, 2023                        /s/ Gregory J. Dubinsky
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